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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                           )
                                                    )
                             Plaintiff,             )
                                                    )
              v.                                    )   17-cr-64-DWF-KMM
                                                    )
EDWARD S. ADAMS,                                    )
                                                    )
                             Defendant.             )
                                                    )
                                                    )


                       DEFENDANT’S POST-HEARING REPLY
                      IN SUPPORT OF MOTION TO SUPPRESS

       With former AUSA Maria having suddenly left the U.S. Attorney’s Office in the

middle of the briefing on this motion, his former colleagues are left to try to explain his

actions. Given the undisputed facts, the government is now forced to concede that its

execution of the warrant was “not perfect” and “in retrospect” should have been handled

differently, but what happened here was much worse than that. The government attempts

to avoid that conclusion by offering after-the-fact speculation about why certain things

may have happened—for example, why government agents repeatedly viewed documents

that are privileged on their face—to suggest that, if this speculation is correct, then the

actions of AUSA Maria and others, though “imperfect,” were reasonable.

       There are two main problems with this argument. First, having successfully

quashed Mr. Adams’s subpoena for AUSA Maria’s testimony on the basis of their

argument that AUSA Maria’s subjective reasoning is not relevant, the government cannot
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now ask the Court to accept conjecture about why AUSA Maria did or did not do certain

things, particularly when the record reflects much more likely explanations.

      Second, the record flatly contradicts the government’s revisionist narrative. For

example, in trying to explain why AUSA Maria and the prosecution team repeatedly

viewed documents with “attorney-client privilege” headers, which suggests completely

unreasonable (or worse) conduct, the government speculates that the headers may not

have been visible in Relativity. But, as discussed below, they were—on each of the

documents, in every Relativity viewer. And in trying to explain why AUSA Maria and

the prosecution team reviewed privileged documents multiple times, the government

claims that the Relativity timestamps show the viewings were brief, and speculates that

must mean the agents quickly stopped viewing the documents because they recognized

the documents as privileged. But, as the government’s own IT witness testified, the

Relativity timestamps cannot be interpreted in the way the government now suggests.

And even if they could, these documents never would have been available for multiple

viewings if the government agents truly were respecting privilege because they would

have been removed from the database immediately. But they were not.

      The government now concedes that it does not object to the suppression of 93% of

the documents that it seized. Opp. 86. This is an implicit concession that the

government’s seizure of nearly 43,000 documents was unreasonable and indefensible.

The government plainly never reviewed these 37,442 documents it agrees to suppress to

determine if they fell within the scope of the warrant—it never so much as glanced at the

documents. But even for the roughly 3,000 emails that the government has not conceded,


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its conduct was fundamentally unreasonable: for these documents too, the government

did not review them to determine if they fell within the scope of the warrant. Instead,

members of the prosecution team looked at very few documents in the database after they

applied the “seizure” search terms in April 2017. And even this subset of the seized

documents contains dozens of sensitive privileged documents and hundreds of documents

that fall outside the scope of the warrant.

       At bottom, the record reflects that the government never took the second step of

the two-step warrant. The government seized Mr. Adams’s entire Yahoo! account and,

as though it had obtained a general warrant, freely used the email data. In violation of

Rule 41, the government never took the second step of reviewing the data to determine

what fell within the warrant’s scope. And then, in an effort to cover up the government’s

unreasonable conduct, AUSA Maria misrepresented the government’s actions to make it

look as though the government had complied with Rule 41—when in reality, it had not.

       The Court should reject the current government team’s efforts to rewrite history,

and should not reward the government’s unreasonable conduct. The decision in this case

will set the bar for future searches pursuant to Rule 41(e)(2)(B). This Court should

require the government to take Rule 41’s second step in a meaningful way, and should

not permit the government to treat two-step warrants as general warrants or to rummage

through obviously privileged communications. Blanket suppression is warranted.1



1
  Mr. Adams is cognizant of the vast record that is presently before the Court and will not
repeat the arguments raised in his prior suppression briefs. See ECF 37, 147.


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I.     The Government Attempts to Rewrite History to Excuse Its Unreasonable
       Violations of Mr. Adams’s Attorney-Client Privileges

       The government obviously wishes AUSA Maria had not done what he did, and

that the record was not what it is. So it now attempts to distance itself from the true

evidentiary record by crafting a more favorable narrative based on conjecture. The actual

record demonstrates that the government was on greater notice than it admits with respect

to the privilege issues, but that it did not act reasonably to avoid violating Mr. Adams’s

attorney-client privileges throughout the search. The record contradicts the government’s

claims of “vigilance,” and it reveals that the government relied on Mr. Adams’s

privileged documents to build its tax charges.

       The government’s conjecture that the “Attorney-Client Privilege” headers may

not have been visible is wrong. The government realizes that it would be unreasonable

on its face for a member of its team to have reviewed documents with headers stating

“Attorney-Client Privilege.” So it suggests that the privilege headers in the printed

versions of in camera Exhibits A, J, and K might not have been visible to AUSA Maria

and other members of the team when they viewed the documents in Relativity. This

speculation is simply wrong: the headers are visible and appear identically in all

Relativity view options. See Ex. 23 (screenshots of headers using all Relativity viewers).

This is the case even for the “ESA Tax Questions” Excel file.2 The government agents




2
 The privilege header was typed as normal text into the first cell of the spreadsheet and
was therefore visible, unlike the separate header from Mr. Adams’s privilege log that the
government apparently cannot view in Relativity. See Gov’t Ex. 25.


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who viewed these documents clearly saw the privilege headers, and yet continued to

review them, on multiple occasions. Nothing could be more unreasonable.

       The record shows that the government was on notice of Mr. Adams’s privileged

relationships that it now claims to have been ignorant of. The government’s argument

that it was not aware of Mr. Adams’s attorney-client relationships with Mr. Brever,

Murry LLC, and Mr. Hopeman is contradicted by the record.

       First, the government claims that it was not on notice of Mr. Adams’s attorney-

client relationship with Mr. Brever when it viewed in camera Ex. K on the first day of its

Relativity searches, and contends that it was unaware of the Kovel relationship between

Mr. Brever and Murry LLC until Murry LLC’s grand jury subpoena response in

December 2016. Opp. 63, 67. But Mr. Brever’s representation of Mr. Adams was

known to the IRS from at least December 2014. See Opp. Ex. 18 at 1. The IRS became

involved in the criminal investigation against Mr. Adams in May 2015, Opp. 31, so the

prosecution team would have been aware of the representation from that date. Moreover,

even without such prior notice, AUSA Maria was on notice from the first time he opened

in camera Ex. K because that document stated at the top: “Attorney-Client Privileged

Communication for Tom Brever and Pat Murry.” As explained above, he could and did

see this header four times on the first day of the Relativity searches, and two more times

thereafter.3 In camera Ex. K & Br. Ex. 4.


3
 On his second day in the Relativity database, AUSA Maria viewed in camera Ex. J,
which also bore an “Attorney-Client Privileged Communication” legend and was
addressed to Mr. Brever (in addition to Mr. Hopeman). Br. Ex. 4 at 4.


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         Second, the government contends that it “had no reason to know” there would be

communications with Mr. Hopeman in the database, Opp. 59-60, but the record shows

that the government had already met with him (in March 2016) when it chose not to

include him in its privilege filtering. Br. 23-25. It was unreasonable for the government

to assume that there would not be communications with Mr. Hopeman in the database,

given the active SEC investigation and issuance of more than 60 grand jury subpoenas by

the time the government officially informed Mr. Adams of the criminal investigation.4

         The government minimizes Inspector Kroells’s unfettered access. The

government proclaims, as if this were a helpful fact for it, that “more than 33,000

potentially privileged documents were removed before the government even began its

search efforts in earnest.” Opp. 84 (emphasis added). The Fourth Amendment does not

apply only when the government decides that it is searching “in earnest.” A search is a

search, and Inspector Kroells was permitted to rummage in Mr. Adams’s unfiltered email

database for at least two days. Br. 8-10. The government predictably argues that

Inspector Kroells was “vigilant” during these early searches—suggesting that the post-

hoc assertion of “vigilance” of a member of the prosecution team is an adequate

substitute for a special master or taint team. Opp. 50-51. However, as described below,

the record reflects that a member of the prosecution team (Inspector Kroells) only once

stopped to notify the rest of the team about encountering privileged documents—a key

component of its supposed “vigilant” procedure.


4
    See Gov. in camera Ex. E at Ex. 1 (list of grand jury subpoenas).


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       The record contradicts the government’s claimed “vigilance.” The government’s

claim that the prosecution team “stopp[ed] reviewing [potentially privileged documents]

and notif[ied] the other agents and the prosecutors” when they encountered privileged

documents, Opp. 50, is demonstrably untrue. Even in the one instance where AUSA

Maria admittedly identified a document as privileged and applied a “privileged” tag, Opp.

61, he unreasonably failed to take any further action—to notify the other agents, to have

the document removed from the database, or to filter out similar documents. As a result,

Inspector Kroells later viewed this privileged memo. The government also concedes that

it meant to exclude privileged communications involving Mr. Hartman from the database,

but that its filter terms were insufficient, and as a result Inspector Kroells reviewed such

communications multiple times. See Opp. 83. Rather than notifying AUSA Maria or

other agents that these obviously privileged communications remained in the database, as

anyone acting with “vigilance” would do, Inspector Kroells continued to view them. Id.

       The government states that some of the document views at issue were brief, based

on the Relativity log timestamps, and that this shows that the reviewer recognized the

document as privileged and stopped reviewing it. That cannot be true: if agents

recognized these documents as privileged, then based on the testimony the government

offered at the evidentiary hearing, the agents not only would have stopped reviewing the

documents but also immediately would have notified AUSA Maria and other members of

the prosecution team so the privileged documents could be excluded from the review

database. See Opp. 50-51 (describing process). Indeed, that is a key feature of the




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“vigilant” process the government claimed it followed. But except in one instance,5 this

did not happen—when prosecution team members reviewed privileged documents, for

however long, they did not advise anyone that these documents should be removed from

the database. The post-hoc conjecture that reviewers cut their review short upon realizing

a document was privileged simply does not square with the fact that there is no record of

reviewers notifying team members at any other time. That leaves two possibilities: either

the reviewers knew documents were privileged and allowed them to remain in the

database so others could review them, or they didn’t recognize documents as privileged

despite “Attorney-Client Privileged” headers and other clear indicia of privilege. In

either case, the government’s conduct was not “vigilant,” and was not reasonable.

       The government insists that its document views were brief, but Relativity

timestamps are an unreliable indicator of total time spent viewing a document. The

government relies heavily on the Relativity log timestamps to support its argument that it

viewed many of the privileged documents only for a short length of time. See Opp. 61,

83. This argument is contradicted by the government’s direct examination of its own IT

specialist, Mr. Zeitz; it asked, “Is Relativity able to tell you how long I spent in a

particular document?,” and he testified “it is not.” Jan. 9 Hr’g Tr. 157 (ECF 87). Mr.

Zeitz was correct. Although the timestamp provides “the date and time [an] action was

performed,” id. 137, there are a variety of reasons why one cannot reliably extrapolate the



5
 On May 16, 2016, when Inspector Kroells notified AUSA Maria that she had seen
communications with Mr. Hopeman in the database. Br. 28.


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duration of time a user spent reviewing a document by reading the next line on the log.

       At least three reasons are readily apparent for why attempting to extrapolate a

view duration in this manner would yield an underestimate: (1) the user could have

viewed the document in Relativity’s native mode, which would have opened the

document in a new window (the native application); (2) the user could have opened the

document in Relativity’s standalone viewer (a separate window); and (3) the user could

have opened the document in a separate window by right-clicking the document link and

selecting “open in new tab” or “open in new window.” See Supp. Decl. Mark Lyon ¶¶ 5-

7. In all of these scenarios, the user’s ability to view the document in the separate

window would be unaffected by subsequent activity in Relativity. Id. Thus, comparing

the time of a particular document view recorded on the Relativity log with the time of the

next document view does not necessarily mean that the user “mov[ed] onto a new

document.” Opp. 61. The first document could still remain open in the native

application, the documents could be viewed simultaneously using Relativity’s two

viewers, or the document could remain visible in a separate tab or window.

       As one example, the Excel document from in camera Exhibit R was sent to Agent

Belich and then attached to and submitted with the IRS Special Agent Report (“SAR”),

yet the Relativity log does not reflect that this document was ever printed or saved. The

Relativity log timestamps for AUSA Maria’s multiple views of this document, if one

simply compares the time of the views with the next lines in the log, make it appear that

AUSA Maria viewed the document for an average of 30 seconds each time. See Ex. 24

(excerpt of Relativity log for in camera Ex. R); in camera Ex. Q, in camera Ex. V (SAR).


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It simply defies belief that AUSA Maria viewed this document, which he believed was

important enough to send to Agent Belich for inclusion in the SAR, for only a matter of

seconds each time he opened it. How would he have known that it was important enough

to send to Agent Belich? As to other in camera exhibits, there is no way to know

whether they likewise were printed or saved from the native viewer, or viewed for longer

periods of time, without creating a Relativity record.6

         The government’s excuses for violating Mr. Adams’s privileges demonstrate that

its procedures were unreasonable. The government admits that communications

between Mr. Adams and his attorneys at Latham sent for the purpose of legal advice are

privileged, Opp. 56, and that the government repeatedly viewed them, Opp. 58-59. But it

argues that its actions were reasonable because those communications did not contain the

government’s filter search terms. This demonstrates exactly why the government’s

action were unreasonable, not the other way around. The government was on notice

through its search term reports that Mr. Adams’s Yahoo! emails contained his

communications with his own lawyers.7 And yet the government did not use any of the

methods required by DOJ guidelines that are standard practice in this District and others




6
  Even taking the government’s argument at face value, it often only takes less than a
minute for a reviewer to read the content of a short email or memorandum. So even if
one accepts the government’s timestamp theory, AUSA Maria spent four minutes
reviewing in camera Exhibit A—despite the clear privilege header. Opp. 58. And the
government admits that Inspector Kroells printed in camera Exhibit G from Relativity,
Opp. 59—again, making the duration of her views in Relativity irrelevant.
7
    See DX 15 (including 3,968 hits for “latham” and 736 for “sikora”).


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(i.e., involving the court, a special master, or a taint team) for handling data possibly

containing privileged communications, which would have avoided these intrusions.

       The government also complains that Mr. Adams over-asserts privilege, and

complains particularly about assertions of privilege relating to communications with Mr.

Monahan. See Opp. 49, 57.8 Mr. Adams’s privilege logs underscore the complicated

privilege issues presented in his email—issues relating to the SEC investigation, the civil

lawsuits, Mr. Adams’s taxes, Adams Monahan LLP clients, common interest

relationships, expert witness engagements, and the spousal privilege. All of these issues

create a tangled web of privilege issues that the prosecution team, if it was acting

reasonably, would have handed over to a taint team or raised with the Court, rather than

barreling through the documents with red lights flashing all around them.

       Despite the government’s revisionist history, evidence disclosed by the

government demonstrates that it used privileged Yahoo! emails to develop the tax

charges. Without citation to the record, the government now claims Mr. Adams is

“incorrect” about the inception and progression of the tax investigation, and that instead,

Venture Bank records and a “simple perusal” of Mr. Adams’s tax returns formed the


8
 The validity of Mr. Adams’s claims of privilege relating to certain communications with
Mr. Monahan (addressed in Mr. Adams’s Opposition to the Government’s Motion
Contesting the Application of Privilege) has nothing to do with the validity of his
privilege claims for communications with Latham, Mr. Hopeman, Mr. Brever, or Murry
LLC. And Mr. Adams clearly has not asserted a privilege merely because he is an
attorney, or because he was communicating with Mr. Monahan—he has asserted
privilege over fewer than 15% of the emails the government viewed and seized from his
accounts, see Br. 20, and he has identified as non-privileged the vast majority of the
communications between him and Mr. Monahan.


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basis of the tax charges. Opp. 30-31. But the government’s own disclosures actually

confirm that it used the privileged Murry LLC emails to develop the tax case. The

government admits that the prosecution team did not receive Mr. Adams’s tax returns

until May 9, 2016, Opp. 31—mere days after AUSA Maria viewed the “ESA Tax

Questions” spreadsheet four times, viewed the “ESA Tax Summary for P. Murry”

spreadsheet seven times, and viewed and printed other emails between Mr. Adams and

Murry LLC.9 Thus AUSA Maria reviewed Mr. Adams’s tax returns only after he had

recently and repeatedly reviewed Mr. Adams’s privileged communications with his tax

counsel and Kovel accountant about the very tax years that are at now at issue.10

         Thereafter, the record reflects that AUSA Maria sent Agent Belich in camera

Exhibit R (“ESA Tax Summary for P. Murry”) and in camera Exhibits M and N (emails

with Murry LLC) on September 7, 2016. See Ex. Q.11 And due to the government’s very



9
    See in camera Exs. K, M, N, & R; Br. Ex. 4.
10
   The government argues that the tax case is based on Mr. Adams’s amended returns
filed in 2011, whereas the communications at issue with Messrs. Brever and Murry relate
to Mr. Adams’s second set of amended returns that were filed in 2014. Opp. 31 n.10.
Both sets of amended returns related to tax years 2008, 2009, and 2010, and the
Indictment alleges that the first set of amended returns contained false statements. ECF
70. Mr. Adams’s privileged communications with his tax counsel in 2014 about issues
relating to those very same tax years that resulted in the filing of a second set amended
returns are plainly related to the tax charges that are based on the same tax years, as
evidenced by the fact that the second amended returns and Mr. Adams’s communications
with Murry LLC are discussed in the SAR. See SAR discussion infra.
11
   The government’s discussion of Ex. Q on page 32 of its Opposition is confused. While
AUSA Maria did provide Agent Belich with the documents the government describes
(including tax returns and a letter to the Minnesota Department of Revenue), AUSA
Maria also provided Belich with in camera Exhibits M, N, and R.


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recent disclosure of the SAR, it is now clear that the government attached in camera

Exhibits M, N, and R to the SAR, which recommends that Mr. Adams be prosecuted for

willfully filing false tax returns. See in camera Ex. V (SAR). These documents are

referenced and quoted on pages 10-11 of the SAR, in the section titled “Adams’ Income

from the Venture Accounts in 2008, 2009, and 2010.” Id. (highlighted portions).

      In both its suppression and dismissal oppositions, the government claims the tax

charges were based on analyzing bank accounts as part of the fraud investigation rather

than reviewing Mr. Adams’s privileged tax communications. Opp. 31; Dismissal Opp.

20-21. But the only record evidence on point rebuts this unsubstantiated claim. At the

hearing, Agent Belich testified he became involved in the case to investigate money

laundering, not tax crimes. See Jan. 8 Hr’g Tr. 279, 298 (ECF 106). He also testified he

relied on documents sent to him by the rest of the prosecution team. Id. 271-72, 278,

289, 296-97. All those documents—including the privileged ones—were sent to him in

spring and early fall of 2016, before the investigation “became a tax matter” in November

2016. Id. 280-281, 303; see in camera Ex. Q. Agent Belich never testified he reviewed

bank records. Thus, the evidence is that the government repeatedly viewed privileged tax

documents and used them in investigating and deciding to bring tax charges.12

      The government offers a laundry list of other excuses as to why its repeated



12
  The government also argues that the inevitable discovery exception applies to these tax
documents. Opp. 34-35. It does not. Although the government obtained Mr. Adams’s
tax returns from the IRS, it should never have obtained privileged communications. See
Privilege Opp. 6-8 (discussing privileged documents sent to Agent Belich).


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review and use of the Murry LLC documents was reasonable—including an effort to seek

reconsideration of the Court’s ruling as to the validity of Mr. Adams’s claims of privilege

covering his communications with Murry LLC, and a new argument that the crime-fraud

exception should apply and should excuse the government’s violations13—but it was

fundamentally unreasonable for the government to forge ahead with its review and use of

these documents to develop a tax case against Mr. Adams, for all of the reasons noted in

Mr. Adams’s opening brief.

       The government’s claim that it sought to avoid intruding into Mr. Adams’s

communications as a lawyer is contradicted by the facts. The government argues that it

consciously avoided searching Mr. Adams’s law firm account and instead elected to

search only email accounts that Mr. Adams appeared to use “in a capacity other than as

an attorney.” Opp. 48-49. But the record reflects that the government was on notice that

Mr. Adams, a practicing lawyer, used his Yahoo! addresses for both business and

personal correspondence. See DX 52 at 2.14 Once the government accessed the Yahoo!

data, the contents of the emails and the earlier privilege keyword searches would have

confirmed that Mr. Adams used this account for many kinds of privileged


13
  Mr. Adams addresses these arguments, which are procedurally, factually, and legally
baseless, in his Opposition to the Government’s Motion Contesting the Application of
Privilege.
14
  In comparison, it knew that his EAdams@adamsmonahan.com account was used for
business but had been inactive since December 2012. DX 52 at 2. As an email account
associated with a private web domain, and not an internet-based email provider, the
inactive Adams Monahan account was simply not one that the government could easily
have executed a search warrant on (particularly without notice to Mr. Adams).


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communications, and Mr. Hopeman even provided the government with explicit notice of

Mr. Adams’s client legal work contained in the emails. DX 58. The government’s

failure to minimize its exposures to Mr. Adams’s privileged communications and failure

to follow the United States Attorneys’ Manual guidelines were unreasonable.15

      The government is wrong about the scope of the privilege issue. In an effort to

minimize the privilege issues, the government suggests that only 50 of the more than

40,000 documents that it seized are privileged. This is inaccurate. Rather, Mr. Adams

submitted approximately 50 privileged documents to the Court in connection with his

requests for relief, because these are documents that the government unquestionably

viewed during its review, and, particularly for the Murry LLC documents, were plainly

put to use to develop the charges against Mr. Adams.16 Mr. Adams has logged additional

privileged documents that the government viewed and has provided those logs to the


15
   The lone case the government cites—United States v. SDI Future Health, Inc., 464 F.
Supp. 2d 1027, 1038-39 (D. Nev. 2006)—supports the proposition that searches of law
offices and areas identified as containing privileged documents should be conducted by a
taint team. The government’s position about the Yahoo! accounts not being analogous to
a law office is fundamentally inconsistent with both the fact that so many documents in
this account hit on the general privilege search terms (including “attorney,” “lawyer,”
etc.) and the government’s claim that team members assumed this was the case because
of the prevalence of standard legal privilege disclaimers. See Opp. 51 n.14; DX 15.
16
  As contemplated by this Court’s orders, see ECF 88, Mr. Adams has not engaged in a
document-by-document privilege review of those documents that the government did not
access in Relativity. Beyond the documents viewed by the government (according to the
Relativity records), Mr. Adams has previously stated he lacks the resources to thoroughly
review for privilege the entire Yahoo! database to which Inspector Kroells had access
(146,522 items), or even the universe of 37,502 items the government never viewed in
Relativity. Br. 21 n.17. Now that the government concedes that the documents it never
viewed can be suppressed, it will not be necessary to review all such items for privilege.


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government, but the examples submitted to the Court highlight the most significant

privilege violations that justify the relief sought. Also, the government’s suggestion that

50 attorney-client privileged documents is somehow a small number for an opposing

party to surreptitiously review is truly remarkable. As the Court knows, disputes of this

sort generally involve one or two privileged documents that made their way into the

hands of an adversary in litigation; that is bad enough. But the damage done by the

government reviewing 50 documents containing core mental impressions from Mr.

Adams and his lawyers about the very matters at issue in the Indictment is, in the

experience of Mr. Adams’s counsel (and as reflected in the case law), unprecedented.

II.    The Government’s Conduct Was Unreasonable and It Recklessly
       Disregarded Rule 41

       At the end of the two-day evidentiary hearing, the Court asked for clarity about

what was seized and when: “Is the seizure happening on April 7th? Is the seizure

happening during the searches? Is the seizure happening when Yahoo turned it over?”

Jan. 9 Hr’g Tr. 209 (ECF 87). The government’s response provides no answer, but an

examination of the government’s actions does: From the start of and throughout its

investigation, the government used all of Mr. Adams’s emails for whatever purposes it

desired. Thus, the government seized the entire contents of the Yahoo! database from the

very beginning. Even though Rule 41(e)(2)(B) and decades of case law about searching

voluminous documents make clear that the government was authorized to hold Mr.

Adams’s emails only for the limited purpose of executing the warrant, the government

never even attempted to fulfill that responsibility. It never meaningfully executed the



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second step of the two-step warrant.

       This Court should decline the government’s invitation to render Rule 41’s two-

step requirement meaningless. The government urges the Court to adopt its position that

Rule 41 does not actually require the government to perform the second step of the

warrant. It relies heavily on United States v. Lee, 2015 WL 5667102 (N.D. Ga. Sept. 25,

2015), which centered on the government’s failure to ever complete its execution of the

warrant. Here, by contrast, the government did purport to complete its execution by

seizing 42,927 documents, the vast majority of which it had never viewed. Lee says

nothing about the reasonableness of this “execution.”17 Lee is more factually similar to

United States v. Debbi, 244 F. Supp. 2d 235 (S.D.N.Y. 2003), than the instant case, but

Lee and Debbi came to the opposite conclusion on the same issue. See Br. 45, 58-59.

       The court in United States v. Wey, 256 F. Supp. 3d 355 (S.D.N.Y. 2017), provided

a powerful analysis of why it is improper for the government to treat a database of



17
   The Lee defendant never challenged the government’s search for or use and seizure of
items outside the warrant’s scope. Mr. Adams does. In a footnote the government
quotes, see Opp. 35-36, Lee states “[t]here is no requirement . . . the government return or
destroy lawfully obtained evidence relevant to an ongoing criminal investigation,”
meaning the government need not dispose of any email until after the completion of the
case. See 2015 WL 5667102, at *15 n.15. The government takes this to mean that it is
allowed to return again and again to Mr. Adams’s emails until the case is complete, but
that is not what Lee states; rather, it permitted the “conditional retention” of the
remaining emails for the limited purpose of “authentication” and proving “identity.” Id.
As explained in United States v. Wey, 256 F. Supp. 3d 355 (S.D.N.Y. 2017), there is “no
authority suggesting that simply because [the government] has retained all originally
searchable electronic materials, [it] is permitted to return to the proverbial well months or
years after the relevant Warrant has expired to make another sweep for relevant evidence,
armed with newly refined search criteria and novel case theories.” Id. at 406.


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electronic information seized pursuant to a two-step warrant as a litigation database that

can be continuously searched—because such warrants become, for “all intents and

purposes, general warrants.” Id. at 405-08. The government urges the Court to follow

United States v. Lustyik, 2014 WL 1494019 (D. Utah Apr. 16, 2014), instead, yet the

reasoning of Lustyik is thin; Wey is much more persuasive. Moreover, the Eighth Circuit

has explained that the government may not later re-check an item not initially found to be

within the scope of a warrant under that same warrant’s authority (albeit in a non-digital

context). See United States v. Robbins, 21 F.3d 297, 299-302 (8th Cir. 1994).18

       The government offers no credible explanation for its use of documents that it

purportedly did not seize. The government used Mr. Adams’s emails—which it had

access to solely in order to execute the Yahoo! warrant—for a variety of other purposes,

including conducting witness interviews and developing tax charges.19 See Br. 38-41. At

least 41 of the documents that it used were never purportedly seized.20 In one of its post-


18
  The government cites United States v. Johnston, 789 F.3d 934 (9th Cir. 2015), but that
case does not help it. There is nothing in Johnston to suggest the government there re-
reviewed files plainly outside the warrant’s scope—it only says that the government may
re-review files within the warrant’s scope. Both Lustyik and Johnson involved searches
of computer hard drives, which present issues not at play in a comparatively simple
emails search. See United States v. Christie, 717 F.3d 1156, 1166 (10th Cir. 2013).
19
  As for witness interviews, the government hypothesizes there would be no problem
asking employees of a business to aid in executing a warrant served on it. See Opp. 30.
This is not that case—the warrant related to Mr. Adams’s emails and the government did
not ask for his help executing a warrant for his documents. Instead, it violated his Fourth
Amendment privacy interests by bringing in unrelated parties. See Br. 34 n.24. That is
unreasonable. See Br. 39-40; cf. Bills v. Aseltine, 958 F.2d 697, 704-05 (6th Cir. 1992).
20
  See Maier Decl. ¶¶ 4-6, 8-9. Additional unseized documents may have been used with
witnesses, as the government is unable to represent that its records are “comprehensive,”

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hoc rationalizations, the government suggests that it could have shown such documents to

witnesses “before ultimately deciding to seize them . . . or not seize them.” Opp. 30.

And yet the government never made such an informed decision to seize or not seize

documents after review because its purported seizure was accomplished solely through

the post-indictment application of broad search terms.

       The government misunderstands and fails to respond to Mr. Adams’s arguments

about multiple views, keywords, and relevance. With respect to multiple views, the

government argues it is not limited to one view to determine whether a document falls

within the scope of the warrant and that, in any event, most of the documents Mr. Adams

claims it reviewed multiple times are within that scope. See Opp. 33-44. Both points

misunderstand Mr. Adams’s arguments. Mr. Adams never argued the government was

limited to a single view of every item—he argued that the government’s review must “be

as ‘brief’ or ‘cursory’ as reasonably necessary.” Br. 41 (emphasis added). Here, it was

unreasonable for the government to fail to implement any system to separate documents

within the scope of the warrant from those outside it. See id. at 42.21



Br. 17, and it is unknown whether additional documents were used internally by the
prosecution team without creating a Relativity record, see Maier Decl. ¶¶ 7. The
government’s summary table also misclassifies this category of documents as “viewed
but not seized,” when in fact the documents were viewed, not seized, and used. Opp. 19.
21
   As for the documents the government repeatedly reviewed, the government spends six
pages explaining why Exhibits 7, 8, and 9 to the Maier Supplemental Declaration are
within the warrant’s scope. But Mr. Adams cited Exhibits 7, 8, and 9 to his brief, which
are excerpts of the Relativity log for the documents viewed three or more times identified
in Maier Supplemental Declaration Exhibits 2 (“Personal or Family), 3 (“Non-Apollo
Business”), and 5 (“Sale of Apollo Warrants or Allegedly Secret Bank Accounts”). See
Br. 42. Elsewhere in its brief, the government concedes that the 115 “Personal or

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       The government’s argument about the use of keywords is also a red herring. Mr.

Adams never claimed the government could not use keywords or had to specify them in

advance. Rather, he argued that the government may not search for information that falls

outside the warrant’s scope. See Br. 35-36. In this respect, as elsewhere, the government

is forced to offer post-hoc conjecture in an attempt to justify AUSA Maria’s conduct. For

example, the government speculates that AUSA Maria’s keyword searches for “maria”

were “likely” because AUSA Maria was seeking to confirm that “during his time at

Latham . . . he did not acquire any knowledge” of the case. Opp. 25 n.7. Having

prevented the defense from cross-examining AUSA Maria at the evidentiary hearing, the

government cannot now ask the Court to accept this innocuous (and totally implausible)

explanation.22 The much more “likely” explanation is that AUSA Maria was fishing for

documents outside the scope of the warrant (and ones that were likely to be privileged)—

he was looking for instances where Mr. Adams used AUSA Maria’s name in emails

discussing the ongoing government investigation that AUSA Maria was leading.

       Fundamentally, Mr. Adams and the government disagree on two related issues.

First, the parties disagree about the scope of the warrant and therefore what searches fall



Family” and 635 “Non-Apollo Business” documents are “arguably” outside the scope of
the warrant. See Opp. 21. The government advances no argument about the documents
identified by Mr. Adams, and thus effectively concedes that it did, in fact, review
documents outside the scope of the warrant multiple times. Doing so was unreasonable.
22
  AUSA Maria searched for his own name three weeks after the government wrote to
Mr. Hopeman claiming that AUSA Maria allegedly “did not acquire any information
whatsoever . . . let alone privileged or confidential information” regarding Mr. Adams or
his companies. Opp. Ex. 4 at 2.


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within it. For example, although searches for “RL,” “DL,” and “ADR” might fall within

the scope of a warrant that the government would apply for today based on the current

“thrust” of its investigation, see Dismissal Opp. 27-28, they had nothing to do with the

Scio misrepresentation fraud alleged in the warrant affidavit, Br. 38. Second, the parties

disagree whether running a list of search terms against the Yahoo! database to determine

the government’s final “seizure” was unreasonable under the Fourth Amendment and in

reckless disregard of proper procedure under Rule 41. Here, the government’s own

reasoning defeats its arguments. It argues that “[s]ome keywords may be chosen not

because they conclusively demonstrate that a responsive file falls within the scope of the

warrant, but instead because they indicate that a file is worthy of further scrutiny to

determine whether it falls within the scope of the warrant.” Opp. 23. And yet, the

government performed no such process: it applied broad search terms to reduce the

database to 42,927 documents, then hardly used the database again, and deemed this the

final seizure. There is no evidence that the government subjected any documents to

“further scrutiny” in this process, or that it spent any time determining that the

purportedly seized documents fell within the scope of the warrant.

       On the issue of relevance, the government yet again responds to a straw man. Mr.

Adams never argued that items relevant under the terms of the warrant are not within the

warrant’s scope. Instead, Mr. Adams explained that “[i]n its briefing and at the hearing,

the government referred to ‘relevance,’ that is relevance to its investigation or case.” Br.

43. Mr. Adams’s point is that the terms of a warrant are static, and a document either

falls within those terms or does not. By relying on “relevance” to an “evolving theory of


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the case,” see Br. 13, the government attempts to circumvent the very purpose of the

particularity requirement: “to leave nothing to the discretion of the officer executing the

warrant.” Berger v. New York, 388 U.S. 41, 98 (1967) (alteration omitted).23

         The government failed to determine whether documents fell within the scope of

the warrant, and now it promotes an expansive view of the warrant scope to excuse its

conduct. To defend the seizure of most of the documents that Mr. Adams has identified

as outside the scope of the warrant, the government interprets that scope so broadly that it

includes nearly any email sent after October 2006 touching on business or financial

matters. Thus the government argues that all of Mr. Adams’s personal tax returns are

within the warrant’s scope24 because they reflect his “dealings with the Apollo

companies,” Opp. 26, and that all transactional documents related to “RL, “DL,” and

“ADR” are within the scope because they relate to “business and financial transactions

of” the Apollo companies, id. 24—despite the fact that these are separate entities having

nothing to do with the 2011-12 Apollo/Scio transactions, see Br. 38.25 But there is no


23
  It is unsurprising that the government found a number of cases using the word
“relevant” in a colloquial manner to mean “within the scope of the warrant.” Indeed, at
the hearing, the Court recognized this shorthand reference: “I recognize that I’m using
relevance in a colloquial term. I mean responsiveness to the search warrant when I say
relevance . . . .” Jan. 9 Hr’g Tr. 209:6-9. None of the government’s cases support the
proposition that any and all documents referencing any of the individuals or companies in
any way associated with the government’s “evolving” investigation fall within the scope
of the warrant. See Br. 44. It is this meaning of “relevance” that the Court must reject.
24
     Despite the fact that the government listed no tax crimes in the affidavit or warrant.
25
  Similarly, the government justifies certain seizures by claiming that the document
relates in some way to a topic mentioned in Inspector Kroells’s affidavit. It uses this
argument to justify its seizure of any document reflecting Mr. Adams’s roles over time at

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evidence the government ever made such determinations when executing the warrant—it

simply disregarded the warrant’s terms and treated the warrant like a general warrant.

III.   The Warrant Violated the Fourth Amendment

       The irreconcilable conflict in the government’s scope and particularity arguments

is evidence of the facial deficiency of the Yahoo! warrant. When defending the warrant’s

scope, the government argues for breadth. But when defending the warrant’s

particularity, the government takes a much narrower view, contending the warrant is

particular by relying on a combination of five restrictions. See Opp. 8.26 The

government cannot have it both ways: If the warrant is particular only because of all the

restrictions it now relies on, then the government vastly exceeded the warrant’s scope

when executing it.27 By contrast, if the warrant reasonably could be read by executing

officers to have the broad scope the government claims, then it cannot be particular.

       The government cites a number of cases in support of its particularity argument,

but these cases fail to save the Yahoo! warrant. In United States v. Fiorito, 640 F.3d 338


Apollo—which is essentially any document discussing Apollo—because the affidavit
discusses Mr. Adams’s roles with Apollo. See Opp. 16 (citing DX 10 ¶¶ 8, 19, 30). The
warrant does not establish probable cause to seize all such documents.
26
  These restrictions include limiting the search to: Mr. Adams’s two email accounts;
“‘fruits, contraband, evidence, and instrumentalities’ of mail and wire fraud;” evidence
involving Mr. Adams (although every document in his email account necessarily involves
him); evidence after October 25, 2006; and reference to an illustrative list of documents.
27
   For example, the illustrative list includes “financial and business transactions,” the
category the government relies on for nearly all of its scope arguments. Despite this item
being limited to “calendar, fiscal, and federal tax years 2010 to present,” DX 11 att.B
pt.II.a.I, the government claims many pre-2010 documents somehow fit this category.
See United States v. Reeves, 2012 WL 1806164, at *8-11 (D.N.J. May 17, 2012).


                                            23
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(8th Cir. 2011), the Eighth Circuit upheld a search for the essential transactional

documents involved in a “well-defined” scheme. Id. at 346-47. Fiorito does not support

the argument that all documents reflecting any “financial and business transactions” may

be seized, no matter how attenuated from the scheme at issue in the indictment.28 The

government repeatedly cites Andresen v. Maryland, 427 U.S. 463 (1976), for its

discussion of illustrative lists and the breadth of warrants in fraud cases. See Opp. 9, 14-

15. But the Eighth Circuit has cabined the portions of Andresen on which the

government relies. In re Grand Jury Proceedings explained that the broad warrant in

Andresen was permissible because “the warrant expressly relate[d] the documents to a

single transaction under investigation,” 716 F.2d at 498, namely the sale of a specific,

identified lot of land, Andresen, 427 U.S. at 466. Even with the broad language of its

warrant, the specific focus on that transaction resulted in the seizure of a tiny portion of

the files in the offices of the defendant or his real estate company. Andresen, 427 U.S. at

466-67 (3% and 5% of the files). If the Yahoo! warrant had authorized a search only for

documents related to the “fixed or specific transaction” set out in the affidavit—the

Apollo/Scio transactions—Andresen would be on point, but that is not this warrant. See

In re Grand Jury Proceedings, 716 F.2d at 498. Andresen, therefore, does not aid the



28
  Indeed, the Eighth Circuit permits the seizure of “a generic class of items” like this
only when that class is limited to a specific crime or transaction. United States v. Horn,
187 F.3d 781, 788 (8th Cir. 1999) (relying on a case upholding a warrant for the seizure
of records relating to a particular loansharking operation). The crimes alleged in this
warrant—generic fraud involving various businesses from 2006 onwards—are not
sufficient. See In re Grand Jury Proceedings, 716 F.2d 493, 498-99 (8th Cir. 1983).


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government.29

       In response to Mr. Adams’s overbreadth arguments, the government asserts that

because it alleged a fraudulent transaction in the warrant, it is entitled to seize documents

relating to all potential fraud. Not so.30 With fraud, as with all crimes, the scope of the

seizure the warrant authorizes must comport with the extent of the fraud for which the

affidavit establishes probable cause. See In re Motion for Return of Property Pursuant to

Rule 41, 681 F. Supp. 677, 681, 686 (D. Haw. 1988); see also United States v. Leary, 846

F.2d 592, 605 (10th Cir. 1988). A different rule “would virtually eliminate the need to

particularize a warrant in cases of fraud because the fraud specified could be taken to

infer a much broader ranging fraudulent scheme.” In re Motion, 681 F. Supp. at 681.31


29
   The government’s affidavit argument also fails. An affidavit can cure a non-particular
warrant if “a) the affidavit [actually] accompanies the warrant, and b) the warrant uses
suitable words of reference which incorporate the affidavit therein.” United States v.
Johnson, 541 F.2d 1311, 1315 (8th Cir. 1976). Here, there is no incorporation. The
warrant references the affidavit twice: Under the place to be searched, it states “See
Attachment A.” DX 11. Under the items to be seized, it says “See Attachment B.” Id.
It thus incorporates the affidavit’s attachments but not its body. As for physical presence,
the government does not cite any evidence supporting its contention that the affidavit was
available to guide agents executing the warrant. See Opp. 12. Finally, the affidavit
cannot cure the warrant’s lack of particularity because the warrant is overbroad.
30
   Elsewhere, the government recognizes the difference between the Scio transactions and
alleged embezzlement scheme: “Although the civil case and the SEC investigation . . .
do involve some of the entities, individuals, and transactions . . . involved in this case, the
general thrust of those prior matters is different.” Dismissal Opp. 27. Mr. Adams agrees
that there are “substantial differences,” id. at 27-28, between the alleged fraud for which
the affidavit established probable cause and what the government investigated.
31
  The government’s key overbreadth case, United States v. Maali, 346 F. Supp. 2d 1226
(M.D. Fla. 2004), is distinguishable. There, a lengthy “Master Affidavit” described an
intricate scheme by ten companies and multiple individuals to illegally employ more than
50 named non-citizens and hide their wage payments over the course of nearly four years.

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       The good faith exception does not excuse the Yahoo! warrant. No reasonable

officer executing the warrant could read it to sweep as broadly as the government claims.

But if an officer could read it that way, then this would be one of those cases where “a

warrant was so facially deficient . . . that the executing officers [could not] reasonably

presume it to be valid,” United States v. Leon, 468 U.S. 897, 923 (1984). The same goes

for overbreadth: No reasonable officer reading Inspector Kroells’s affidavit could

believe it provided probable cause to conduct the search the government contends the

warrant authorized here. See United States v. Strand, 761 F.2d 449, 457 (8th Cir. 1985)

(declining to apply good faith exception to overbroad seizure where items seized “went

far beyond the seizure contemplated by the affidavit submitted to the magistrate).

IV.    Although the Court Should Suppress All Documents Effectively Conceded by
       the Government, Blanket Suppression Is Also Warranted

       The Court should order the suppression of all documents the government has

effectively conceded: the 37,442 documents “seized” but not viewed, Opp. 86; the 750

documents viewed by the government it concedes are “arguably” outside the warrant’s

scope (and does not attempt to argue),32 Opp. 21 & Maier Suppl. Decl. ¶¶ 3, 4; and



Id. at 1230-36. The affidavit described the scheme as pervading the finances of the
businesses, so the warrant’s authorization to seize financial records dating from two years
before the scheme was supported by probable cause. See id. at 1231, 1240. Here, the
government attempts to parlay one allegedly fraudulent transaction in the affidavit into a
warrant covering all Mr. Adams’s business and financial dealings over a decade.
32
  The government also notes that it does not object to the suppression of the documents
that “were not retained.” Opp. 86. While Mr. Adams agrees that the government should
not have access to these 68,940 documents, they were never seized and so are beyond the
scope of this motion—the government has already effectively relinquished them.


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privileged documents.

         Thus, of the 42,927 documents that were seized, the government argues against

the suppression of at most 3,127 documents.33 Opp. 86. That the government can only

defend 7% of its seizure is telling. And even in that 7%, Mr. Adams has identified

dozens of privileged documents and 844 documents that are outside the terms of the

warrant or the scope of the probable cause supporting it. See Br. 58-59; Maier Suppl.

Decl. ¶¶ 5-8. The Court should also suppress these documents.

         Beyond this, the Court should consider the “totality of the circumstances,” as

described above and in Mr. Adams’s opening brief, and conclude that the government’s

conduct requires blanket suppression of the Yahoo! emails. United States v.

Winningham, 953 F. Supp. 1068, 1077 (D. Minn. 1996). Separate and apart from Fourth

Amendment reasonableness, Mr. Adams has provided two other reasons for blanket

suppression: an utter lack of particularity and reckless disregard for proper procedure

under Rule 41.34 Br. 58-59.

V.       CONCLUSION

         For the reasons stated, the Court should suppress all Yahoo! emails obtained via

the warrant at issue.




33
     This does not include “seized” and viewed documents from Mr. Monahan’s email.
34
  The government effectively ignores Mr. Adams’s Rule 41 argument, lumping it in with
his unreasonableness argument. Rule 41 requires a separate and distinct analysis and
requires blanket suppression even in the absence of a Fourth Amendment violation. See
generally Br. 34-35, 51-52, 57 (setting out Rule 41 standards and analysis).


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Dated: August 17, 2018            Respectfully submitted,



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